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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NORTHWEST ENVIRONMENTAL             )
ADVOCATES,                          )
                                    )
                        Plaintiff,  )                 Civil Action No. 17-CV-2019 (RCL)
                                    )
      v.                            )
                                    )
UNITED STATES DEPARTMENT            )
OF INTERIOR,                        )
                                    )
                        Defendant.  )
____________________________________)

                                   JOINT STATUS REPORT

        Pursuant to the Minute Order dated October 16, 2018, the parties respectfully submit this

joint status report.

        On September 20, 2018, Plaintiff provided a settlement demand for attorneys’ fees and

costs. The agency needs additional time to review and respond to Plaintiff’s settlement demand.

        The parties request that the Court allow the parties to submit another joint status report on

or before January 9, 2019, in order to provide the parties additional time to try to resolve fees and

costs without the Court’s involvement or provide a briefing schedule regarding fees and costs.


Dated: November 27, 2018


 Respectfully submitted,

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                                                   Assistant United States Attorney
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___/s/ Lia Comerford__                    Civil Division
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